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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA



     Karen RODRIGUEZ, Antonio RODRIGUEZ,
     Boris SHAYKEVICH and Yelena                   Case N o . : - - - - - - - - -
     SHA YKEVICH, individually and on behalf of
     other similarly situated persons,
                                                   CLASS ACTION COMPLAINT
           Plaintiffs,                                                                                             ~.,

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                                                                                  (   :·.                               .. -,
           v.                                      Ju~   Demand
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     UNIVERSAL PROPERTY & CASUALTY                                                                                      I
                                                                                                                   -J
     INSURANCE COMPANY,                                                                                            .•.  ,,
           Defendant.                                                                           ..                 r,;;
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     I.      INTRODUCTION

             I.     This class action arises from the willful failure of Florida's largest private

     residential homeowners insurer to secure sensitive customer information of its policy holders.

     Despite being obligated by contract and law to safeguard this information, Defendant's website

     currently grants public access to important insurance documents without encryption, and without

     password authentication. This serious breach oflegal duties, basic industry customs and

     representations to customers is currently ongoing, and has caused significant harm. If an

     ordinary member ofthe public- or worse, a burglar or identify thief- were to learn of the breach

     (assuming one has not already), customers would be subject to even greater harm, necessitating

     that this complaint be filed under seal.

            2.      This action seeks equitable relief and money damages on behalf of Plaintiffs

     Karen RODRIGUEZ, Antonio RODRIGUEZ, and Boris and Yelena SHAYKEVICH and other

     similarly situated consumers who currently have an insurance policy through Universal Property

     & Casualty Insurance Company (the "Defendanf> or «Universal Insurance") (the "Policy

     Holders,,). Plaintiffs also assert these claims on behalf offormer Policy Holders affected by

     Defendant's conduct alleged herein (the "Affected Former Policy Holders") (together with the

     Policy Holders, the "Class Members").

            3.      Defendant Universal Insurance claims to be the largest private personal residential

     homeowners insurance company in Florida based on number of policies written. According to

     Defendant, more than 500,000 homeowners throughout the United States insure their Florida

     homes with a policy written by the Defendant, and tens of thousands of homes in other states

     (primarily Georgia and the Carolinas) are also insured by Universal Insurance.
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             4.      Class Members are able to access their accounts through a website controlled and

      made available by Defendant: hups:/1\vww.universalproperty.com (the "Website"). Important

     documents, such as declaration pages and evidence of insurance coverage (the "Insurance

      Documents"), are also available for viewing and downloading from the Website. The Insurance

      Documents contain sensitive customer information aggregated in one place, including customer

      name, mailing address, email address, telephone number, and limits of insurance. If the insured

     property has an address distinct from the mailing address, the Insurance Documents might

     suggest the home is a vacation home and thus occasionaily or freq~ently unoccupied. One

      Insurance Document discloses whether the home has a burglar alarm.

             5.      Although the Defendant requires a password to access the main portal for the

     account and even uses https (an ostensibly secure internet communication protocol), the

      Defendant provides- to unencrypted copies of the Insurance Documents. They are

     available today to the public

                           . It is therefore a double-hit: no password required, and no encryption,

     constituting a willful failure to protect sensitive information. Upon information and beHef, it is

      possible that each and every Policy Holder is affected (and also possible that former Policy

     Holders could be affected).




             6.      Federal and state laws and regulations require financial institutions like the

      Defendant to protect the security and confidentiality of non-public personal information of the

      type contained in the Insurance Documents.




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            7.       Defendant represents in its privacy policy that it maintains "physical, electronic,

     and procedural safeguards to ensure the confidentiality of the personal information we obtain

     about you.''

            8.      Defendant admits in its Annual Report filed with the SEC that financial

     institutions like Defendant must accurately "notify customers and other individuals about their

     policies and practices relating to their collection and disclosure of customer information and their

     practices relating to protecting the security and confidentiality ofthat information."

            9.      Because this serious data breach is currently ongoing, Plaintiffs are filing this

     complaint temporarily under seal and simultaneously demanding that Defendant immediately

     secure the sensitive infOI'mation of Plaintiffs and the Class. Once Defendant has confirmed that

     the breach has been remedied, Plaintiffs can move to unseal this class action complaint.

             I 0.   Plaintiffs bring claims for equitable relief and money damages based on the

     following causes of action:

                    a.      ViolationoftheFairCreditReportingAct, 15 U.S.C. § 1681 etseq.;

                    b.      Breach of Implied Covenant of Good Faith and Fair Dealing; and

                    c.      Unjust Enrichment/Restitution.

     II.    JURISDICTION AND VENUE

             II.    This Court has subject matter jurisdiction over all claims pursuant to the Class

     Action Fairness Act ("CAFA"), 28 U.S.C. § 1332(d), because this is a class action in which the

     amount in controversy exceeds $5,000,000, and at least one member of the class is a citizen of a

     state other than Florida.

             12.    This Court also has federal question jurisdiction over the FCRA claim pursuant to

     28 U.S.C. § 1331.




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             13.    This Court also has supplemental jurisdiction over the Florida state law claims

     under 28 U.S.C. § 1367.

             14.    This Court has personal jurisdiction over the Defendant because Defendant is

     headquartered in Florida and the violations occurred in Florida.

             15.    Venue is appropriate in this District pursuant to 28 USC§ 1391 (b)(l) because

     Defendant is headquartered in Ft. Lauderdale.

     III.   PARTIES

             16.    Plaintiff Karen Rodriguez is an adult domiciled in and a citizen of the State of

     Florida, Miami-Dade County~ who currently insures a home in Miami-Dade County with a

     policy written by Defendant. The exposed Insurance Documents relating to Plaintiff's policy

     disclose that the policy insures the dwelling, personal property, loss of use, personal liability and

     medical payments. The exposed Insurance Documents also identify the Plaintiffs' mailing

     address, an annual policy premium o f - for the current policy year, and whether the

     insured property has a burglar alarm. Plaintiff Karen Rodriguez pays monthly premiums to her

     escrow agent who in turn pays yearly or quarterly payments to Defendant on Ms. Rodriguez's

     behalf. She would not have entered into the insurance contract had she known that the sensitive

     customer information would be made publicly available.

            17.     Plaintiff Antonio Rodriguez is an adult domiciled in and a citizen of the State of

     Florida, Broward County, who currently insures a home in Broward County with a policy written

     by Defendant. The exposed Insurance Documents relating to Plaintiff's policy disclose that the

     policy insures the dwelling, personal property, loss of use, personal liability and medical

     payments. The exposed Insurance Documents also identify the Plaintiffs' mailing address and

     telephone number and whether the insured property has a burglar alarm, and disclose an annual




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     premium of~forthe current policy year. Plaintiff pays monthly premiums to his

     escrow agent, in connection with his monthly mortgage payment, who in turn pays yearly or

     quarterly payments to Defendant on Mr. Rodriguez's behalf. He would not have entered into the

     insurance contract had he known that the sensitive customer information would be made publicly

     available.

             18.    Plaintiffs Boris and Yelena Shaykevich are adults domiciled in and are citizens of

     the State of Connecticut, New Haven County, who currently insure a home in the State of

     Florida, Pinellas County, with a policy written by Defendant. The exposed Insurance Documents

     relating to Plaintiff's policy disclose that the policy insures the dwelling, personal property, loss

     of use, personal liability and medical payments. The exposed Insurance Documents also identify

     the Plaintiffs' mailing address in Connecticut, the insured property address in Florida, telephone

     number in Connecticut, an annual premium o f $ - and whether the insured property has a

     burglar alarm. Plaintiffs pay bf-annual premiums to Defendant and would not have entered into

     the insurance contract had they known that the sensitive customer information would be made

     publicly available.

             19.    Defendant Universal Insurance is a Florida corporation based at 1110 W.

     Commercial Blvd., Suite 300, Ft. Lauderdale, FL. Defendant is an indirect wholly~owned

     subsidiary of Universal Insurance Holdings, Inc. ('4Universal Insurance Parent"), a Delaware

     company based at the same address in Ft. Lauderdale. Defendant is the largest subsidiary of

     Universal Insurance Parent.

     IV.    FACTUAL ALLEGATIONS

            20.     Defendant is vertically integrated, performing substantially all aspects of

     insurance underwriting, policy issuance, general administration and claims processing and



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      settlement internally. Defendant primarily writes personal residential homeowners insurance

      policies, predominantly in Florida, and reports that it received $817.7 million in direct written

     premium for the year ended December 31, 2015. Defendant also writes homeowners insurance

      policies in Delaware, Georgia, Hawaii, Indiana, Maryland, Massachusetts, Minnesota, North

      Carolina, Pennsylvania and South Carolina.

             21.       Policy Holders must pay their annual premiums up-front in a lump sum or in bi-

     annual or quarterly installments. If the Policy Holder prefers monthly payments, the premium

     can be financed by Atlas Premium Insurance Company, another subsidiary of Universal

      Insurance Parent. A minimum $800 total policy premium amount is required for Atlas to finance

     the contract, and Atlas does not run a credit check. Instead, it relies solely on the customer's

     credit information obtained by Defendant and provided to Atlas.

             22.      When the owner of a Universal Insurance policy wishes to access his main

     account page through the Website, he is required to enter a username and password. If both are

     entered correctly, he is then directed to another webpage where he may select various policy

     documents or other information. When accessed this way, the Insurance Documents are

     password protected.

             23.      However, there is a second way to access the same Insurance Documents without

     ·using a password. Defendant has created a second URL that requires no password or username.

     This URL is standardized for all policy holders. For example, if a Plaintiff wishes to view his

     declaration page, he or she could- without first accessing the Website in a secured fashion using

     a username and password- place the following URL in his internet browser:

                   https:l/universalproperty.




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     This would result in the display of the declaration page which, again, would appear without the

     user first Jogging into the Website in a secured fashion.

            24.     The~digit portion ofthe URL highlighted above is an exemplar of the

     simple protocol created and used by Defendant, where the    IIIII digits assigned to the document
     number correspond to the declaration page. For this example, the undersigned changed the

     assigned number t o - to protect the identity of any current Class Member. Using the

     realllll-digit number, however, the URL above will direct anyone to the declaration page

     without requiring authentication. Neither the password nor usernarne are required.

            25.     The unprotected URL above also works even if the policy holder does not access

     his account at all. He and any person with a computer might also then have access to the

     Insurance Documents ofall other policy owners by simply changing one or more of the digits in

     the seven-digit number highlighted above. Furthermore, the second, unprotected URL is used by

     Defendant when a customer accesses the Insured Documents from the "Lender Verification"

     section of his account page, for example. The URL is thus displayed on the customer's (or

     hacker's) browser.

            26.     To further illustrate the point, a redacted screen shot showing the Insurance

     Document and the URL is attached to this complaint as Exhibit B, with sensitive customer

     information redacted. The undersigned accessed an Insurance Document (with permission of a

     Plaintiff) without using a user name or password. The URL was simply typed into a browser and

     counsel was able to access, download and print the Insurance Document.

            27.     The security lapse at issue affects a number oflnsurance Documents, not just the

     declaration pages. So, for example, a certificate of evidence of insurance for the same policy has

     a differentllll-digit identifier, but the URL to access the document uses the exact same simple




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      protocol. Below, the actual identifier was changed t o - to protect the identity of Class

      Members:

                   https://unfve1·salproperty.

             28.       As highlighted above, the only two portions of the URL that change when

      accessing different documents are the unique document number, a n d - changes to

                         As with the declaration page, the URL above can be used by anyone to access

      the document without using a password or username.

             29.       Worse still, thellll-digit codes                          are                  to

      actual policy numbers                                 Thus, ifthe policy number w e r e -

      • • and the URL above uses thellll-digit document identifier-, the declaration page

      for policy number                                                  has a numerical designation

                                                                    the URL also only changes.

      -             allowing unprotected access to the next poli

                   https:l/universalpro

             30.       The failure of Defendant to password-protect or encrypt the Insurance Documents

      is deeply troubling. The documents contain phone numbers and email addresses matched to the

      real identities of policy holders; their policy limits and deductibles; and other sensitive customer

      information. If the policy owner has substantially valuable personal property at the insured

      home it would be reflected in the increased coverage and associated premiums identified under

      cccoverage C- Personal Property;' allowing would~ be thieves to target a home based on this

      information alone. Likewise, increased personal liability limits identified under "Coverage E"

      could influence personal injury claims against an insured, simply based on insurance coverage.

      If the home is a vacation home and periodically unoccupied, a hacker could learn this fact simply




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     by observing an out-of-state address for the insured and an in-state address for the property

     location.

            31.     One Insurance Document even publicly discloses whether the home has a burglar




                                                                                   --
            32.     In sum, given t h e - protocol used by Defendant on the Website, and given

     the lack of password protection and encryption, it would be a simple matter for even an amateur

     hacker to write an algorithm and scrape each and every unprotected document from the Website.

     If Defendant's entire customer base is equally affected, then 600,000 people across the United

     States, more than 500,000 of whom insure property in Florida, are exposed.

            33.     In Defendant's privacy policy revised September 2015 (available on the Website,

     and attached to this Complaint as Exhibit A), Defendant falsely represents:

                    We maintain physical, electronic, and procedural safeguards to ensure the
                    confidentiality ofthe personal information we obtain about you. We
                    restrict access to your personal information to those employees who need
                    to know that information to provide services to you.

            34.     Likewise, in Defendant's most recent Form 10-K filed with SEC on February 24,

     2016, the Defendant admits the following on page 21 in the 4'Privacy Regulation" section:

                   Federal and state laws and regulations requtre.financial institutions to
                   protect the security and confidentiality ofnon-public personal information
                   and to notify customers and other individuals about their policies and
                   practices relating to their collection and disclosure of customer
                   information and their practices relating to protecting the security and
                   confidentiality ofthat information.




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              35.     The exact representation above appeared in Defendant's Form I 0-K the prior year

      dated February 25, 2015, on p. I 0.

              36.     Defendant has failed to honor these representations and obligations, as Plaintiffs'

      sensitive customer information is not protected by even the simplest of physical, electronic, and

      procedural safeguards, and Defendant has failed to protect the security and confidentiality of the

      information.

      V.      CLASS ACTION ALLEGATIONS

              37.     Plaintiffs bring this class action pursuant to Federal Rule of Civil Procedure 23 on

      behalf of a class of Universal Insurance consumers who currently have an insurance policy

      through Universal Property & Casualty Insurance Company (the "Defendant" or "Universal

      Insurance") (the "Policy Holders"). Plaintiffs also assert these claims on behalf of former Policy

      Holders affected by Defendanfs conduct ~lleged herein (the "Affected Former Policy Holders")

      (together with the Policy Holders, the "Class Members").

              38.     Excluded from the Class are Defendant its past or current officers, directors,

      affiliates, legal representatives, predecessors, successors, assigns and any entity in which any of

      them have a controlling interest, its indirect ultimate parent Universal Insurance Parent, and any

      of its or its subsidiary's past or current officers, directors, affiliates, legal representatives,

      predecessors, successors, assigns and any entity in which any of them have a controlling interest.

      The Class also excludes all judicial officers assigned to this case as defined in 28 USC § 45S(b)

      and their immediate families.

              39.     Numerosity: the size of the class is unknown, but upon information and belief

      will exceed half a million members if the data breach affects all customers. They are so

      numerous and dispersed nationwide that joinder of all members is impractical.




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            40.     Commonality: common questions of law and fact exist as to all members of the

     Class and predominate over any questions affecting solely individual members of the Class.

     These common questions include the following, among many others:

                    a.     Whether Defendant failed to encrypt the [nsurance Documents;

                    b.     Whether Defendant allowed public access to the Insurance Documents

                           without a password;

                    c.     Whether Defendant is aware of any attempts by unauthorized parties to

                           access the Insurance Documents;

                    d.     The start and end dates of Defendant's acts;

                    e.     To what extent Defendant's conduct extends to customer information;

                    f.     Whether Defendant's actions violated Florida law;

                    g.     Whether Defendant's actions occurred within the State of Florida;

                    h.     The extent to which Defendant controlled, designed and operated the

                           Website;

                    1.     The extent to which Defendant was aware the Insurance Documents are

                           available publicly without authentication; and

                   j.      Whether the Defendant's Privacy Policy creates an implied contract with

                           Class Members under Florida law.

            4 I.    Typicality: Plaintiffs' claims are typical of the claims of all other Class Members.

     Plaintiffs all have currently active insurance policies written by Defendants; all have paid money

     premiums to Defendant; and all have their sensitive customer information exposed to the public

     without password protection or encryption. Their claims are based on the same legal theories as

     the claims of other Class Members.




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                42.   Adequacy: Plaintiffs wil I fairly and adequately protect the interests of all

      members of the Class in the prosecution ofthis action. Plaintiffs are similarly situated with, and

      have similar injuries to, the members of the Class they seek to represent. All Plaintiffs are adults

      and have retained counsel experienced in complex class action matters generally and in the

     emerging field of digital privacy litigation specifically.

                43.   Superioritx: A class action is superior to all other available methods for the fair

      and efficient adjudication of this case, because joinder of all members is impractical if not

      impossible. Furthermore, the cost of litigating each claim individually might exceed actual

      and/or statutory damages available to each class member thus making it impossible for each class

      member to litigate his or her claims individually. There will be no difficulty in managing this

      action as a class action.

      VI.       COUNTS

                                              COUNT I
                       Breach of Implied Covenant of Good Faith and Fair Dealing

                44.   Plaintiffs incorporate the above allegations by reference as if set forth fully

      herein.

                45.   Plaintiffs entered into insurance contracts with Defendant to obtain homeowners

      insurance policies from Defendants (the "Insurance Contracts"). All policies are currently in

      force, and Plaintiffs have performed all obligations under the contracts, including the payment of

      premiums to Defendant.

                46.   The lnsurance Contracts constitute valid and enforceable contracts between

      Plaintiffs and the Defendant.

                47.   Florida recognizes the implied covenant of good faith and fair dealing in every

      contract.


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              48.    Defendant represents in its Privacy Policy that it maintains "physical, electronic,

      and procedural safeguards to ensure the confidentiality of the personal information we obtain

      about you. We restrict access to your personal information to those employees who need to

      know that information to provide services to you."

             49.     Defendant represented in its most recent Form 10-K filed with SEC, on page 21 in

      the "Privacy Regulation" section, that "Federal and state laws and regulations require financial

      institutions to protect the security and confidentiality of non-public personal information and to

      notify customers and other individuals about their policies and practices relating to their

      collection and disclosure of customer information and their practices relating to protecting the

      security and confidentiality of that information."

             50.     Implicit in the Insurance Contracts are implied contractual obligations to honor

      the Privacy Policy and representations in SEC filings quoted above related to data protection.

             51.     Defendant's violation ofthe Privacy Policy and misrepresentation of its data

      protection practices by failing to encrypt the Insurance Documents and by allowing public access

      to the Insurance Documents without authentication constitutes a breach of the implied covenant

      to good faith and fair dealing.

             52.     Plaintiffs would never have entered into the Insurance Contracts had Defendant

      accurately described its data protection (or lack thereof) related to the Insurance Documents.

             53.     Plaintiffs have suffered actual damages in the diminished value of the services

      they were contractually entitled to receive under the contract and the implied term, or in the

      alternative suffered actual damages in the amount of premiums paid to Defendant.




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                                                   COUNT II
                                        Unjust Enrichment/Restitution

                54.   Plaintiffs incorporate the above allegations by reference as if set forth fully

      herein.

                55.   Plaintiffs conferred a financial benefit on the Defendant in the form of monthly or

      periodic premiums paid pursuant to the policies.

                56.   Defendant accepted the monetary benefit and has knowledge of the monetary

      benefit conferred by all Plaintiffs.

                57.   Defendant uses the premiums in part to pay for the administrative costs of data

      management and security of sensitive customer infonnation.

                58.   Defendant represents in its Privacy Policy that it maintains "physical, electronic,

      and procedural safeguards to ensure the confidentiality of the personal information we obtain

      about you. We restrict access to your personal information to those employees who need to

      knowthat information to provide services to you.     )I




                59.   Defendant violated the Privacy Policy by failing to encrypt the Insurance

      Documents and by allowing public access to the Insurance Documents without authentication.

                60.   Defendant represented in its most recent Form I 0-K tiled with SEC, on page 21 in

      the "Privacy Regulation" section, that "Federal and state laws and regulations require financial

      institutions to protect the security and confidentiality of non-public personal information and to

      notify customers and other individuals about their policies and practices relating to their

      collection and disclosure of customer information and their practices relating to protecting the

      security and confidentiality of that information."

                61.   Defendant's data protection practices with respect to the Insurance Documents are

      inconsistent with Defendant's representations to.the SEC and to investors.


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               62.     Under these circumstances it would be unjust and inequitable for Defendant to

      retain the benefit of the full premiums because Defendant failed to protect the sensitive customer

      information aggregated and reflected in the lnsurance Documents.

               63.     Defendant's lack of data protection for the Insurance Documents are below

     minimum industry standards.

               64.     Defendantwas enriched by its actions in Florida.

               65.     Defendant's enrichment came at Plaintiffs' expense.

               66.     Florida recognizes a separate common law cause of action for unjust enrichment

     or restitution.

                                                 COUNT III
                              Willful Violation of the Fair Credit Reporting Act

               67.     Plaintiffs incorporate the above allegations by reference as if set forth fully

     herein.

               68.     The Fair Credit Reporting Act requires "consumer reporting agencies" to adopt

     reasonable procedures for meeting the needs of commerce for consumer credit, personnel,

      insurance and other information, including appropriate measures to protect the confidentiality of

     such information. 15 U.S.C. § 1681 etseq.

               69.     Under FCRA, a "consumer reportH means any communication of information by a

     "consumer reporting agency" bearing on a customer's credit worthiness, credit standing, credit

      capacity, character, general reputation, personal characteristics, or mode of living which is used

      or collected as a factor in establishing eligibility for credit or insurance. 15 U.S.C. § 168 t b.

            · 70.      Further, a "consumer reporting agency" means any person which regularly

     engages in whole or in part the practice of assembling or evaluating consumer credit information




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      or other information on consumers for the purpose of furnishing consumer reports to third

      parties.

                 71.   Plaintiffs and Class Members are "consumersn or "persons" under FCRA, 15

      U.S.C. § 1681a.

                 72.   Defendant is a "consumer reporting agency" under FCRA because it regularly

      engages in providing credit or other information on consumers to Atlas Premium Insurance

      Company for the purpose of determining whether to finance monthly installment premium

      payment plans.

                 73.   Atlas admits on its website in the FAQs that it does not run credit checks on

      applicants and instead relies solely on the credit and other consumer infonnation furnished to it

      by Defendant.

                 74.   Defendant maintains "consumer repot1s" within the meaningof FCRA.

                 75.   As a "consumer reporting agency," Defendant is required to "maintain reasonable

      procedures" to limit the use of consumer reports, including reasonable and effective procedures

      to limit unauthorized access to Defendant's databases. IS U.S.C. § !681e.

                 76.   Defendant willfully breached its requirement under FCRA to protect its databases

      by choosing not to encrypt the Insurance Documents and allowing public access to them.

                 77.   Under FCRA, Plaintiffs and Class Members are entitled to statutory damages of

      $100 per person for violations of this duty, or actual damages if greater (to a maximum of $1,000

      per person), plus costs and attorney's fees. 15 U.S.C. § 1681n.




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                                                   COUNT IV
                           Negligent Violation of the Fair Credit Reporting Act
                                  (Pled in the Alternative to Count III)


                78.   Plaintiffs incorporate the above allegations by reference as if set forth fully

     herein.

                79.   The Fair Credit Reporting Act requires "consumer reporting agencies" to adopt

     reasonable procedures for meeting the needs of commerce for consumer credit, personnel,

     insurance and other information, including appropriate measures to protect the confidentiality of

     such information.

                80.   Under FCRA, a "consumer report" means any communication of information by a

     "consumer reporting agency" bearing on a customer's credit worthiness, credit'standing, credit

     capacity, character, general reputation, personal characteristics, or mode of Iiving which is used

     or collected as a factor in establishing eligibility for credit or insurance.

                81.   Further, a "consumer reporting agency'' means any person which regularly

     engages in whole or in part the practice of assembling or evaluating consumer credit information

     or other information on consumers for the purpose offurnishing consumer reports to third

     parties.

                82.   Plaintiffs and Class Members are "consumers" or "persons" under FCRA.

                83.   Defendant is a "consumer reporting agency" under FCRA because it regularly

     engages in providing credit or other information on consumers to Atlas Premium -Insurance

     Company for the purpose of determining whether to finance monthly installment premium

     payment plans.




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             84.      Atlas admits on its website in the FAQs that it does not run credit checks on

     applicants and instead relies solely on the credit and other consumer information furnished to it

     by Defendant.

             85.      Defendant maintains "consumer reports" within the meaning of FCRA.

             86.      As a "consumer reporting agency," Defendant is required to "maintain reasonable

     procedures" to limit the use of consumer reports, including reasonable and effective procedures

     to limit unauthorized access to Defendant's databases.

             87.       Defendant was negligent in failing to maintain reasonable procedures to protect

     its databases by choosing not to encrypt the Insurance Documents and allowing public access to

     them.

             88.      Defendant's conduct violated FCRA and Plaintiffs and Class Members have been

     damaged by Defendant's conduct in an amount to be determined at trial.

             89.      Under FCRA, Plaintiffs and Class Members are statutorily entitled to recover

     actual damages plus costs and attorney's fees. 15 U.S.C. § 1681 o.

     VII.    PRAYER FOR RELIEF
             WHEREFORE, Plaintiffs respectfully request that this Court:

             A. Order the Defendant to remedy the data breach;

             B. Order an independent privacy audit of Defendant and related entities to determine

                   whether similar data breaches are also occurring and to report to the Court the cause

                   of the current data breach;

             C. Order the parties to confer on any recommended redactions to this complaint and

                   preparation of a public version to be ECF-filed after the data breach has been

                   remedied;




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           D. Certify this action as a Class Action pursuant to Rule 23 of the Federal Rules of Civil

               Procedure and appoint Plaintiffs as class representatives and their counsel as Class

               Counsel;

           E. Award contractual damages to Plaintiffs and the Class for all damages sustained as a

               result of Defendant's wrongdoing, in an amount to be proven at trial, including

               interest thereon;

           F. Award restitution to Plaintiffs and the Class against Defendant;

           G. Award statutory damages under the Fair Credit Reporting Act;

           H. Permanently restrain Defendant and its officers, agents, employees and attorneys

               from violating the statutes referred to herein or otherwise violating its privacy policy

               with respect to data protection;

           L Award Plaintiffs the reasonable costs and expenses incurred in this action, including

               counsel fees and expert fees; and

           J. Grant Plaintiffs such further relief as the Court deems appropriate.

     VIII. JURY DEMAND

           Plaintiffs demand a trial by jury of all issues triable.

     Dated: March 7, 2016

                                            Respectfully submitted,

                                           WITES & KAPETAN P.A.

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                              Exhibit A
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   Universal Property                                                 Page I of2




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